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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA

Richmond Division
UNITED STATES OF AMERICA,
v. Criminal Action No. 3:18-cr-150-JAG
JAVIER CRUZ BONILLA,
Defendant.
O_PILON

Javier Cruz Bonilla moves to dismiss the one-count indictment charging him with illegal
reentry. Bonilla contends that the immigration court that issued his removal order lacked
jurisdiction based on a defective initial notice to appear. Because the initial notice to appear did
not render Bonilla’s deportation order void, the Court will deny the motion to dismiss.

I. BACKGROUND

Bonilla is a citizen oi` El Salvador. On May 5, 2012, U.S. immigration authorities served
Bonilla with a notice to appear, and placed him in removal proceedings The notice to appear
ordered Bonilla to appear on “a date to be set” at “a time to be set.” (Dk. No. 14, at 4.) On May
l6, 2012, Bonilla received a notice of hearing, with a time and place. Bonilla and his lawyer
appeared before an immigration judge on June 20, 2012. The immigration judge issued a bond
order, and Bonilla was released on bond on June 25, 2012. ln 2015, Bonilla’s removal case was
administratively closed. Al`ter two subsequent arrests, however, officials reopened Bonilla’s case.
On September 2l, 2018, an immigrationjudge ordered Bonilla’s removal from the United States.
On October 10, 2018, the government deported Bonilla to El Salvador. Police in Henrico County,
Virginia, arrested Bonilla on local charges on November 28, 2018. On December 18, 20]8, a

grand jury indicted Bonilla t'or illegal reentry. Bonilla has moved to dismiss his indictment

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Il. DISCUSSION
A. S!atu!ory and Regulatory Notices to Appear
The lmmigration and Nationality Act (“INA”) provides a vehicle for noncitizen-defendants
to collaterally attack the validity of an underlying deportation order. See 8 U.S.C. § l326(d). To
lodge a collateral attack in a prosecution for illegal reentry_. the noncitizen must show the
following:

(l) the alien exhausted any administrative remedies that may have been available
to seek relief against the order;

(2) the deportation proceedings at which the order was issued improperly deprived
the alien of the opportunity forjudicial review; and

(3) the entry ofthe order was fundamentally unfair.
Id.

ln this case, Bonilla does not argue that he has met the requirements under § 1326(d), but
instead asserts that "there is an exception to the exhaustion and deprivation of judicial review
requirement for void [deportation] orders.” (Dk. No. 14, at 14.) Bonilla contends that the
immigration court that issued the underlying deportation order lacked subject matterjurisdiction
because the initial notice to appear failed to specify a time and place for the removal hearings.

The lllegal lmmigration Rel`orm and lmmigrant Responsibility Act (“llRIRA”) requires
immigration authorities to serve a "notice to appear” on a noncitizen subject to deportation
proceedings 8 U.S.C. § 1229(a)(l). Among other requirements, the statute requires notices to
appear to include "[t]he time and place at which the proceedings will be held.” ld.
§ 1229(a)(l)(G)(i). Section 1229 does not address thejurisdiction of the immigration courts.

Aher Congress enacted the lIRIRA, the Attorney General promulgated regulations

governing removal proceedings Under the regulations, “[i]urisdiction vests, and proceedings

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before an lmmigration .ludge commence, when a charging document is filed with the Immigration
Court.” 8 C.F.R. § 1003.14(a). One such “charging document” is a “Notice to Appear.” ld.
§ 1003.13. The regulations set forth the requirements for the contents of notices to appear, which
largely track the statutory requirements ld. Under the regulations, however, notices to appear
need only specify a time and place “where practicable.” Id. § 1003.18(b).

B. The Pereira Case

In Pereira v. Sessions, the Supreme Court addressed notices to appear in the context of a
statutory remedy called “cancel|ation of removal.” 138 S. Ct. 2105, 2107 (2018). ln certain
circumstances nonpermanent residents may apply for cancellation of removal if they have “been
physically present in the United States for a continuous period of not less than 10 years." 8 U.S.C.
§ 1229b(b)(l). Under the INA’s stop-time rule, the period of continuous presence ends “when the
alien is served a notice to appear under section 1229(a).” ld. § 1229b(d)(1).

In Pereira, the Supreme Court addressed the following “narrow question”: "lf the
Government serves a noncitizen with a document that is labeled ‘notice to appear,’ but the
document fails to specify either the time or place of the removal proceedings does it trigger the
stop-time ru|e?” 138 S. Ct. at 21 10. The Court answered that question in the negative, holding
that “[a] notice that does not inform a noncitizen when and where to appear for removal
proceedings is not a ‘notice to appear under section 1229(a)’ and therefore does not trigger the
stop-time rule." ld. 'l`hus, the govemment must “provide noncitizens ‘notice’ of the information,
i.e., the ‘time’ and 'p|ace,’ that would enable them ‘to appear’ at the removal hearing in the first
place.” ld. at 2108. The Court, however, never addressed the immigration court’sjurisdiction.

In light of Pereim, Bonilla asks the Court to dismiss his indictment, using the following

line of reasoning: (1) a notice to appear that lacks a time or place is not a valid notice to appear

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under section l229(a); (2) a notice to appear under § 1229(a) vests jurisdiction in immigration
courts; (3) an invalid notice to appear deprives the immigration court of jurisdiction; (4) a removal
order entered without jurisdiction is void; and (5) the government cannot prosecute Bonilla for
illegal reentry because the indictment is premised on an invalid removal order.
C. Application to Bonilla

Because the Attomey Genera| cannot “sweep an explicit statutory requirement to the side,"
notices to appear must satisfy the requirements set forth in § 1229(a). United States v. Rivera
Lopez, 355 F. Supp. 3d 428, 438 (E.D. Va. 2018) (finding the defendant’s notice to appear
defective because it did not include a time and place). Notwithstanding Pereira"s “narrow”
holding, 138 S. Ct. at 21 15, the Court assumes that Bonilla’s initial notice to appear was defective
because it failed to comply with § 1229(a). A defective notice to appear, however, does not deprive
an immigration court of subject matterjurisdiction.l

1 . Relevam Cases

The Fourth Circuit rejected arguments like Bonilla’s in two unpublished cases. First, in
United Sla!es v. Perez-Arellam), the court explained that “Pereira did not address the question of
an immigration judge’s jurisdiction to rule on an alien’s removability, and it certainly does not
plainly undermine thejurisdiction of the [underlying] removal proceeding.” No. 18-4301, 2018

WL 6617703, at *2 (4th Cir. Dec. 17, 2018) (per curiam). Second, in Leonard v. Whitaker, the

 

' See UnitedStales v. Vasquez Flores, No. 5:18-cr-21, 2019 WL 332414, at *6 (W.D. Va. Jan. 25,
2019) (“[E]ven though the court assumes, under Pereira, that the [notice to appear] was defective,
that defect did not result in the immigration court’s lacking subject-matter jurisdiction nor its
orders being rendered void ab initio.”).

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court emphasized the “narrow holding” in Pereira, and rejected the defendant’s jurisdictional
argument 746 F. App’x 269, 269-70 (4th Cir. 2018) (per curiam).2

ln several cases, this Court has addressed motions to dismiss based on the same arguments
advanced here. ln United States v. Rivera Lopez, the Court rejected the defendant’sjurisdictional
argument even though the defendant’s notice to appear was defective, concluding that “section
1003.14 does not impose a subject-matter jurisdictional limitation.” 355 F. Supp. 3d at 438. ln
United States v. Gomez-Salinas, the Court noted that “all Courts of Appeals that have addressed
the issue, including the Fourth Circuit, have unanimously found that Pereira does not dictate that
a removal order is ultra vires where the order is based on an Initial Notice to Appear without the
date and time.” No. 2:19-cr-10, 2019 WL 1141063, at *5 (E.D. Va. Mar. 12, 2019).3 The Court
concluded that “l) the relevant statute is silent on whenjurisdiction vests in an immigration court,
2) Defendant received notice of the date and time of the hearing in accordance with the relevant
regulation, which does address when jurisdiction vests, and 3) the Supreme Court’s holding in
Perez'ra does not apply.” ld. at *6.

2. Jurisdiction
Even assuming that Bonilla received a defective initial notice to appear, that defect did not

render Bonilla’s deportation order void. Section 1229(a), which defines the requirements for

 

2 See also In re Bermudez-Cota, 27 I. & N. Dec. 441 , 443 (B.I.A. 2018) (“Had the Court intended
to issue a holding as expansive as the one advanced by the respondent, presumably it would not
have specifically referred to the question before it as being ‘narrow.”’).

3 See also id. at *5 (“[F]ar more district courts, including this Court, have held that Pereira
addressed a narrow question, and its holding should not be extended beyond the stop-time rule
provision to find that immigration courts lack jurisdiction where the Notice to Appear did not
include the date and time.” (citing United Slares v. Romero-Caceres, 356 F. Supp. 3d 541, 554-55
(E.D. Va. 2018)).

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notices to appear, is silent about the immigration court’sjurisdiction.4 Although the regulations
mention the term “jurisdiction,” the regulations do not impose a subject matter limitation on the
immigration courts See 8 C.F.R. § 1003.14(a) (“Jurisdiction vests, and proceedings before an
Immigration Judge commence, when a charging document is filed with the lmmigration Court.")
"‘[J]urisdiction’ is a term that can convey ‘many, too many, meanings.”’ Rivera Lopez, 355 F.
Supp. 3d at 438 (quoting Um'on Pac. R.R. Co. v. Bhd. OfLocomolive Eng’rs & Trainmen, 558
U.S. 67, 81 (2009)). For example, the term “jurisdiction” in section 1003.14(a) may refer to subject
matter jurisdiction or “a mandatory component of the adjudicative process that may nonetheless
be forfeited or waived.” ld. at 439.

As the court in Rivera Lopez explained, “section 1003.14(a) is more akin to a federal
court’s local rules, which (like the regulations at issue here) are the product of congressionally
delegated gap-filling authority . . . but which in no way affect the federal court’s subject-matter

jurisdiction.” ld. Thus_. although section 1003.14(a) “imposes a procedural requirement on

 

4 Bonilla cites the IIRIRA’s “transitional rules” as evidence that Congress intended notices to
appear to confer jurisdiction on the immigration courts Because Congress enacted the IIRIRA in
1996 but it did not take effect until April l, 1997, Congress included certain provisions to help
with the transition. See Okpa v. INS, 266 F.3d 313, 317 (4th Cir. 2001) (“The transitional rules
apply to aliens who were involved in deportation proceedings initiated prior to April l, 1997, and
were issued a final deportation order more than thirty days after September 30, 1996.”). Under
the pre-IIRIRA procedures, immigration proceedings began with an “Order to Show Cause” and
a separate “Notice of` Hearing.” The post-IIRIRA procedures, however, require a notice to appear
with a time and place. IIRIRA § 309(c)(2) allowed the Attomey General to choose to apply the
new IIRIRA rules before April l, 1997, The relevant transitional rule provides, “If the Attomey
General makes such election, the notice of hearing provided to the alien . . . shall be valid . . . to
confer jurisdiction on the immigration judge.” Pub. L. No. 104-208, § 309(c)(2), 110 Stat. 3009-
625, 626 (1996). Absent binding authority to the contrary, the use of the term “jurisdiction” in the
IIRIRA’s transitional rules does not change the Court’s conclusion. Despite the language in the
transitional rules, § 1229(a) sets forth the requirements for notices to appear, and it “says nothing
about the Immigration Court’s jurisdiction.” Karingilhi v. Whitaker, 913 F.3d 1158, 1160 (9th
Cir. 2019).

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immigration authorities’ initiation of removal proceedings that requirement is not ‘jurisdictional’
in the formal sense, and a defect in a notice to appear does not necessarily render a resulting
deportation order void ab initio.” ld.

Moreover, Bonilla later received an adequate notice of hearing with a time and place. See
Gomez-Salinas, 2019 WL 1141063, at *6 (denying the defendant’s motion to dismiss and noting
that “subsequent notices were not defective in any way and complied with the relevant statute and
regulation”); Bermudez-Cota, 27 I. & N. Dec. at 447 (“[A] notice to appear that does not specify
the time and place of an alien’s initial removal hearing vests an Immigration Judge with
jurisdiction over the removal proceedings and meets the requirements of section 239(a) of the Act,
so long as the notice of hearing specifying this information is later sent to the alien.”). The BIA
and multiple courts of appeals have endorsed this “two-step notice process” as “sufficient to meet
the statutory notice requirements.” Bermudez-Cota, 27 I. & N. Dec. at 447. Accordingly, the
Court will deny the motion to dismiss.

111. CONCLUSION

ln light of the weight of authority within the Fourth Circuit and this district, the Court will
deny the motion to dismiss

The Court will enter an appropriate Order.

Let the Clerk send a copy of this Opinion to all counsel of record.

Date: iii W 2019
Richmond, V ,s’d` l

John A. Gibney, JZ] ‘
United States Dis ' J dge

 

 

 

 

 

